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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 VINCENT L. MOORE, #816725,

         Plaintiff,
                                                             File No. 15-cv-13319
 -vs-
                                                             Hon. James G. Carr
 THOMAS MACKIE, WARDEN,                                      Sr. U.S. District Judge
 OAKS CORRECTIONAL FACILITY,

         Defendant.
 CRAIG A. DALY, P.C. (P27539)               LAURA MOODY (P51994)
 Attorney for Petitioner Moore              Michigan Attorney General’s Office- Appellate Division
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         MOTION TO EXTEND TIME TO FILE A BRIEF IN SUPPORT
          OF THE PETITION FOR A WRIT OF HABEAS CORPUS

         Petitioner, VINCENT L. MOORE, by his attorney, CRAIG A. DALY, P.C.,

 moves this Court to extend time to file a Brief in Support of the Petition for a Writ of

 Habeas Corpus, for the following reasons:

         1.      Petitioner, Vincent L. Moore, is a state prisoner, currently serving a life

 term for murder and 15 to 30 years for a robbery conviction in the State of Michigan.

         2.      He filed his Petition for Writ of Habeas Corpus on September 21, 2015.



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          3.   Subsequently, his Petition was held in abeyance as he exhausted his state

 remedies on issues involving ineffective assistance of counsel and newly discovered

 evidence.

          4.   In response to the Respondent’s Motion for Summary Judgment, the

 Court entered an Order on April 20, 2020 granting in part, and denying in part the

 Respondent’s motion and ordered Petitioner to file a Brief in Support of the Petition

 on the remaining claims on or before June 19, 2020 (Doc. #22).

          5.   On March 10, 2020, the State of Michigan Department of Health and

 Human Services identified the first two presumptive cases of COVID-19 virus in the

 state.

          6.   On the same day, Governor Gretchen Whitmer issued Executive Order

 2020-04 declaring a state of emergency across the State of Michigan.

          7.   On March 13, 2020, the President of the United States declared a national

 emergency due to the novel coronavirus disease.

          8.   On March 22, 2020, Governor Whitmer explained that COVID-19 “is a

 respiratory disease that can result in serious illness or death. It is caused by a new strain

 of coronavirus not previously identified in humans and is easily spread from person to

 person. There is currently no approved vaccine or antiviral treatment for this disease.

 Executive Order 2020-20.


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       9.     On March 23, 2020, Governor Whitmer issued Executive Order 2020-21

 commanding that “all individuals currently living within the State of Michigan are

 ordered to stay at home or in their place of residence” and prohibiting “all public and

 private gatherings of any number of people occurring among persons not part of a single

 household. Limited exceptions from the “shelter in place’ order permitted for “workers

 are necessary to sustain or protect life” Ibid. The Order was effective on March 24,

 2020, extended to April 30, 2020, and then from April 30, 2020 to May 28, 2020 and

 then again until June 12, 2020 due to the ongoing need to mitigate the disease

 (Executive Order 2020-96).1 Per the Executive Order and MCL 10.33 and MCL

 30.405(3), a wilful violation of the order is a misdemeanor.

       10.    In compliance with the Governor’s Order, the undersigned has not been to

 his office since March 17, 2020.

       11.    To comply with this Court’s order, the undersigned needs access to

 Petitioner’s file and the documents contained therein that is at counsel’s office.

       12.    That an extension of time to file Petitioner’s brief is required for good

 cause shown.

       WHEREFORE, Petitioner requests a ninety (90) day extension of time to file

 his brief in support of the petition to September 17, 2020.

       1
         On June 1, 2020, Governor Whitmer issues Executive Order 2020-110
 lifting certain restrictions on businesses.

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                                   Respectfully submitted,
                                   s/Craig A. Daly
                                   CRAIG A. DALY, P.C. (P27539)
                                   Attorney for Defendant Moore
                                   615 Griswold, Suite 820
                                   Detroit, Michigan 48226
                                   Phone: (313) 963-1455
                                   E-Mail: 4bestdefense@sbcglobal.net

 Dated: June 2, 2020




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 VINCENT L. MOORE, #816725,

        Plaintiff,
                                                   File No. 15-cv-13319
 -vs-
                                                   Hon. James G. Carr
 THOMAS MACKIE, WARDEN,                            Sr. U.S. District Judge
 OAKS CORRECTIONAL FACILITY,

        Defendant.

                       CERTIFICATE OF SERVICE

        I, CRAIG A. DALY, P.C., hereby certify that on the 2nd of June, 2020, I

 electronically filed Motion to Extend Time to File a Brief in Support of the

 Petition for a Writ of Habeas Corpus with the Clerk of the Court using the ECF

 system which will send notification of such filing to the following: Hon. James G.

 Carr and Laura L. Moody .

                                      Respectfully submitted,
                                      s/Craig A. Daly
                                      CRAIG A. DALY, P.C. (P27539)
                                      Attorney for Petitioner Moore
                                      615 Griswold, Suite 820
                                      Detroit, Michigan 48226
                                      Phone: (313) 963-1455
                                      E-Mail: 4bestdefense@sbcglobal.net
 Dated: June 2, 2020


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